        Case 8-17-74291-las            Doc 8      Filed 09/25/17        Entered 09/25/17 10:16:55




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
                                                                   :
 IN RE:                                                            :   CASE NO.: 17-74291-las
                                                                   :
                                                                   :   CHAPTER: 7
 Shazia P. Rizwan                                                  :
                                                                   :   HON. JUDGE.:
 Debtor(s)                                                         :   LOUIS A. SCARCELLA
                                                                   :
                                                                       HEARING DATE:
                                                                   :
                                                                       OCTOBER 19, 2017 @ 10:00 AM
                                                                   :
                                                                   :
                                                                   :
-------------------------------------------------------------------X
               NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

        PLEASE TAKE NOTICE, that upon the application of Fay Servicing LLC as servicer
for U.S. ROF II Legal Title Trust 2015-1, by U.S. Bank National Association, as Legal Title
Trustee, the undersigned shall move this Court for an Order, pursuant to 11 U.S.C. 362(d)(1),
vacating the automatic stay to permit movant, its successors and/or assigns, to enforce its
mortgage on the Debtor’s premises located 15 Yellow Top Lane, Smithtown, New York 11787
a/k/a 17763 and for such other and further relief as is just and proper.
        This motion shall be heard at the United States Bankruptcy Court, Eastern District, 290
Federal Plaza, Central Islip, NY 11722 on October 19, 2017 at 10;00 am or as soon thereafter as
counsel may be heard.
        PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, must be served so
as to be received not later than seven (7) days before the return date of this motion.

Dated: New York, NY
       August 30, 2017

                                                             By: /s/ Adam J. Friedman
                                                             Adam J. Friedman, Esq.
                                                             FRIEDMAN VARTOLO LLP
                                                             Attorneys for Fay Servicing LLC as servicer
                                                             for U.S. ROF II Legal Title Trust 2015-1, by
      Case 8-17-74291-las        Doc 8   Filed 09/25/17   Entered 09/25/17 10:16:55




                                                 U.S. Bank National Association, as Legal
                                                 Title Trustee
                                                 85 Broad Street, Suite 501
                                                 New York, New York 10004
                                                 T: (212) 471-5100
                                                 F: (212) 471-5150



To:

Shazia P. Rizwan
15 Yellow Top Lane
Smithtown, NY 11787
Debtor

Michael J Macco
Macco & Stern LLP
2950 Express Drive South
Suite 109
Islandia, NY 11749
Debtor’s Attorney

Marc A Pergament
Weinberg Gross & Pergament
400 Garden City Plaza
Suite 403
Garden City, NY 11530
Trustee

United States Trustee
Long Island Federal Courthouse
560 Federal Plaza - Room 560
Central Islip, NY 11722-4437
U.S. Trustee
